 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 1 of 31 Page ID
                                  #:137314



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 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 2 of 31 Page ID
                                  #:137315



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5
                      IN THE UNITED STATES DISTRICT COURT
6
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
7
                                 SOUTHERN DIVISION
8
     MASIMO CORPORATION,                     ) Case No. 8:20-cv-00048-JVS-JDE
9    a Delaware corporation; and             )
     CERCACOR LABORATORIES, INC.,            ) APPLE’S [PROPOSED] PRETRIAL
10   a Delaware corporation,                 ) CONFERENCE ORDER
                                             )
11                Plaintiffs,                )
                                             ) Hon. James V. Selna
12         v.                                )
                                             )
13   APPLE INC., a California corporation,   )
                                             ) Pre-Trial Conf.: 3/13/23
14                Defendant.                 ) Trial: 3/28/23
                                             )
15                                           )
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          REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
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 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 3 of 31 Page ID
                                  #:137316



1          Apple hereby submits this pretrial order as it was informed by Plaintiffs at 11:44
2    pm on February 27, 2023 that Plaintiffs would not file the parties’ joint pretrial order
3    and would instead be filing a unilateral submission. While the parties were able to reach
4    agreement on many issues, and note areas of disagreement on others, they were unable
5    to reach agreement on whether the Plaintiffs in this matter should properly be referred
6    to in the joint pretrial order as “Plaintiffs”—instead of as “Masimo.” Because this case
7    was filed by both Masimo Corporation and Cercacor Laboratories, Inc., because both
8    Plaintiffs must satisfy their burdens, and because the distinction between the Plaintiffs
9    matters for certain claims, defenses and other issues to be tried, Apple respectfully
10   requests that the following joint pretrial order, which refers to the Plaintiffs as such, be
11   adopted.
12
13         Following pretrial proceedings, pursuant to Fed. R. Civ. P. 16 and L.R. 16, IT IS
14   ORDERED:
15         1.     The parties are:
16         Masimo Corporation (“Masimo Corp.”) and Cercacor Laboratories, Inc.
17   (“Cercacor”) and Defendant Apple Inc. (“Apple”).
18         All parties have been served and have appeared. No other parties have been
19   named in the pleadings.
20         The pleadings that raise the issues are:
21                a.     Plaintiffs’ Fourth Amended Complaint for (1) Patent Infringement1,
22                       (2) Trade Secret Misappropriation, (3) Correction of Inventorship,
23                       and (4) Ownership of Patents [Dkt. 296-1, filed on February 5, 2021];
24                b.     Apple’s Amended Answer to Plaintiffs’ Fourth Amended Complaint
25                       [Dkt. 370, filed on May 7, 2021];
26
27   1
      Claims 1-12 (patent infringement claims) are currently stayed pending the appeals of
28   Final Written Decisions from inter partes review proceedings. See Dkt. No. 220.
                                                 -1-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 4 of 31 Page ID
                                  #:137317



1                 c.     Plaintiffs’ First Supplement to the Fourth Amended Complaint
2                        [Dkt. 750, filed on June 6, 2022]; and
3                 d.     Apple’s Answer to Plaintiffs’ First Supplement to the Fourth
4                        Amended Complaint [Dkt. 790, filed on June 27, 2022].
5
6          2.     Federal jurisdiction and venue are invoked upon the following grounds:
7          This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
8    §§ 1331 and 1338(a) because the patent infringement claims arise under federal patent
9    laws, 35 U.S.C. §§ 271 and 281, because the correction of inventorship claims arise
10   under federal patent law, 35 U.S.C. § 256, and under the Declaratory Judgment Act, 28
11   U.S.C. §§ 2201 and 2202.
12         The Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367(a), over
13   Plaintiffs’ state law claims for misappropriation of trade secrets under the California
14   Uniform Trade Secrets Act, Cal. Civ. Code § 3426, and for ownership of patent and
15   patent application claims.      Plaintiffs’ state law claims are related to the patent
16   infringement and correction of inventorship claims such that they form part of the same
17   case or controversy under Article III of the United States Constitution.
18         This Court has personal jurisdiction over Apple and venue is proper in this Court
19   pursuant to 28 U.S.C. §§ 1391(b) and 1400(b) because a substantial part of the events
20   giving rise to the parties’ dispute arose in this judicial district. The parties agree that the
21   facts requisite to federal jurisdiction and venue are admitted.
22
23         3.     The trial is to be a jury trial. The trial will consist of ten days of evidence,
24   plus additional time for jury selection, opening statements, and closing arguments.
25
26         4.     At least seven days prior to the trial date, the parties shall file and serve by
27   e-mail: (a) proposed jury instructions as required by L.R. 51-1 and (b) any special
28   questions requested to be asked on voir dire.
                                                  -2-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 5 of 31 Page ID
                                  #:137318



1
2          5.      The following facts are admitted and require no proof:
3          a)      Masimo Corporation is organized and exists under the laws of the state of
4                  Delaware, and has a principal place of business at 52 Discovery, Irvine,
5                  California 92618.
6          b)      Cercacor Laboratories, Inc., is organized and exists under the laws of the
7                  state of Delaware, and has a principal place of business at 15750 Alton
8                  Parkway, Irvine, California 92618.
9          c)      Apple Inc. is organized and exists under the laws of the state of California,
10                 and has a principal place of business at One Apple Park Way, Cupertino,
11                 California, 95014.
12
13         6.      Claims and defenses to be presented at trial:
14
15   Plaintiffs:
16         (a)     Plaintiffs plan to pursue the following claims against Apple and to seek
17   monetary relief for Claim 13:
18         Claim 13: Apple’s Violation of the California Uniform Trade Secret Act;
19         Claim 14: Correction of Inventorship of U.S. Patent No. 10,078,052;
20         Claim 15: Correction of Inventorship of U.S. Patent No. 10,247,670;
21         Claim 16: Correction of Inventorship of U.S. Patent No. 9,952,095;
22         Claim 17: Correction of Inventorship of U.S. Patent No. 10,219,754;
23         Claim 18: Correction of Inventorship of U.S. Patent No. 9,723,997;
24         Claim 19: Correction of Inventorship of U.S. Patent No. 10,524,671;
25         Claim 20: Declaratory Judgment of Ownership of U.S. Patent No. 10,078,052;
26         Claim 21: Declaratory Judgment of Ownership of U.S. Patent No. 10,247,670;
27         Claim 22: Declaratory Judgment of Ownership of U.S. Patent No. 9,952,095;
28         Claim 23: Declaratory Judgment of Ownership of U.S. Patent No. 10,219,754;
                                                 -3-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 6 of 31 Page ID
                                  #:137319



1            Claim 24: Declaratory Judgment of Ownership of U.S. Patent No. 9,723,997;
2            Claim 25: Declaratory Judgment of Ownership of U.S. Patent No. 10,524,671;
3            Claim 26: Declaratory Judgment of Ownership of U.S. Patent No. 11,009,390;
4            Claim 27: Declaratory Judgment of Ownership of U.S. Patent Application No.
5                     16/700,710; and
6            Claim 28: Correction of Inventorship of U.S. Patent No. 11,009,390.
7
8            (b)   The elements of Plaintiffs’ claims are:
9
10           Claim 13: Violation of the California Uniform Trade Secret Act
11           Plaintiffs must prove by a preponderance of the evidence that, for each asserted
12   trade secret identified in Exhibit A (Plaintiffs’ Exhibit) or Exhibit B (Apple’s Exhibit)2
13   to this Joint Pretrial Order (hereinafter, “Asserted Trade Secrets”):
14           a.    Plaintiffs developed or otherwise lawfully possessed the Asserted Trade
15                 Secret3;
16           b.    At the time of the alleged misappropriation, the Asserted Trade Secret
17                 derived actual or potential independent economic value from not being
18                 generally known to the public or to other persons who can obtain economic
19                 value from its disclosure or use, and is the subject of efforts that are
20                 reasonable under the circumstances to maintain its secrecy;
21           c.    Apple improperly acquired, used, or disclosed the Asserted Trade Secret;4
22
     2
      Exhibit A provides Plaintiffs’ articulation of the asserted trade secrets. Apple disagrees
23   that Exhibit A accurately presents the trade secrets as written in the pleadings and
24   Plaintiffs’ 2019.210 statement, and lists the trade secrets as written in Plaintiffs’
     2019.210 statement in Exhibit B.
25
26
     3
      Apple reserves all rights for appeal with respect to its position that Plaintiffs must show
     ownership of the trade secrets. See, e.g., Dkt. 1083.
27
     4
         Apple disputes that the jury should be asked to determine whether Apple improperly
28
                                                 -4-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 7 of 31 Page ID
                                  #:137320



1          d.     Plaintiffs were harmed or Apple was unjustly enriched; and
2          e.     Apple’s acquisition, use, or disclosure was a substantial factor in causing
3                 Plaintiffs to suffer harm (Plaintiffs’ position) or lost profits (Apple’s
4                 position) or causing Apple to be unjustly enriched.5
5
6          Claims 14-19, 28: Elements of Plaintiffs’ Claims for Correction of
7          Inventorship
8          Separately for each challenged Apple patent and each allegedly omitted inventor,
9    Plaintiffs must prove by clear and convincing evidence that the alleged inventor:
10         a.     Contributed to the conception of at least one limitation in at least one claim
11                of the patent; and
12         b.     This contribution was not insignificant in quality, when that contribution is
13                measured against the dimension of the full invention.
14         Claims 20-27: Elements of Plaintiffs’ Claims for Declaratory Judgment of
15         Patent Ownership
16         Separately for each challenged Apple patent, Plaintiffs must prove by a
17   preponderance of the evidence that at least one inventor assigned to Plaintiffs his or her
18   interest in the patent, or made his or her inventive contribution to the patent under an
19
20
21   acquired any Asserted Trade Secret as Apple contends Plaintiffs have not set forth any
22   theory of damages or other remedy based on acquisition alone and therefore this question
     should not go to the jury.
23
     5
       Plaintiffs contend that the elements of trade secret misappropriation do not require
24
     damages or unjust enrichment. Plaintiffs contend that monetary relief differs from harm.
25   Plaintiffs contend that they can seek monetary relief based on acquisition. Apple objects
26   to Plaintiffs seeking damages based on acquisition only; Apple contends no such
     damages theory has ever been disclosed. Apple further objects to Masimo seeking
27   damages for actual harm in any form other than lost profits; Apple contends Plaintiffs
28   have similarly never disclosed any such theory.

                                                -5-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 8 of 31 Page ID
                                  #:137321



1    obligation to assign such rights to Plaintiffs.6
2
3          (c)    In brief, the key evidence on which Plaintiffs rely on for each claim is:
4
5          Claim 13: Apple’s Violation of the California Uniform Trade Secret Act
6
7          a.     Ownership
8          For the                                      Trade Secrets, one or more witnesses
9    including, e.g., Mohamed Diab, Jeroen Poeze, Joe Kiani, and Vijay Madisetti will
10   explain Plaintiffs’ development. Plaintiffs will present supporting evidence through
11   Plaintiffs’ documents, including, for example, notebooks, technical documents, emails,
12   and source code.
13         For the                                                      Trade Secrets, one or
14   more witnesses including, e.g., Mohamed Diab, Stephen Scruggs, and Vijay Madisetti
15   will explain Plaintiffs’ development. Plaintiffs will present supporting evidence through
16   Plaintiffs’ documents, including, for example, notebooks, technical documents, emails,
17   and source code.
18         For the                                                Trade Secrets, one or more
19   witnesses including, e.g., Joe Kiani and Robert Palmatier will explain Plaintiffs’
20   development. Plaintiffs will present supporting evidence through Plaintiffs’ products
21   and documents, including, for example, notebooks, business documents, and emails.
22         One or more witnesses including, e.g., Joe Kiani, Tracy Miller, and Gerry
23   Hammarth will explain employee assignment agreements and the cross-license
24
25   6
      Apple objects to Plaintiffs’ suggestion that they need only to prove by a preponderance
26   of evidence that “at least one inventor” assigned his or her interest in the patent. Apple
     disagrees, but will reserve its objections until such time that the Court is prepared to
27   address this question, e.g. through jury instructions. Plaintiffs state that they cannot
28   respond to Apple’s unstated “objection.”

                                                  -6-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 9 of 31 Page ID
                                  #:137322



1    agreement between Masimo Corp. and Cercacor. Plaintiffs will present supporting
2    documentary evidence including, for example, the agreements and any amendments.
3
4          b.     Derive Value From Not Being Generally Known, and Subject To
5                 Reasonable Efforts To Keep Secret
6          One or more witnesses including, e.g., Mohamed Diab, Joe Kiani, Vijay
7    Madisetti, and Robert Palmatier along with the presentation of documentary evidence,
8    and cross examination of Apple’s and third party witnesses, will explain that each of
9    Plaintiffs’ trade secrets derive independent economic value, actual or potential, from not
10   being generally known to the public or to other persons who can obtain economic value
11   from its disclosure or use.
12         One or more witnesses including, e.g., Mohamed Diab, Joe Kiani, Tracy Miller,
13   Bilal Muhsin, Gerry Hammarth, Vijay Madisetti, and Robert Palmatier along with the
14   presentation of documentary evidence, and cross examination of Apple’s and third party
15   witnesses will explain, along with Plaintiffs’ policies, handbooks, training, notebooks,
16   physical and computer access restrictions, exit interview procedures, employment
17   agreements, email exhibits, and communications with Apple, the steps Plaintiffs take to
18   keep the trade secrets confidential, proprietary and secret.
19
20         c.     Apple’s Misappropriation via Acquisition, Use, or Disclosure
21         One or more witnesses including, e.g., Vijay Madisetti will explain how Apple
22   misappropriated the                                            Trade Secrets, and Plaintiffs
23   will present supporting evidence through Apple testimony and documents, including,
24   for example, notebooks, technical documents, emails, source code, and interrogatory
25   responses.
26         One or more witnesses including, e.g., Vijay Madisetti will explain how Apple
27   misappropriated the                                      Management Trade Secrets, and
28   Plaintiffs will present supporting evidence through Apple testimony and documents,
                                                -7-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 10 of 31 Page ID
                                   #:137323



1    including, for example, notebooks, technical documents, emails, source code, and
2    interrogatory responses.
3          One or more witnesses including, e.g., Robert Palmatier will explain how Apple
4    misappropriated the                                                  Trade Secrets, and
5    Plaintiffs will present supporting evidence through Apple testimony and documents,
6    including, for example, notebooks, business documents, emails, and interrogatory
7    responses.
8
9          d.     Apple’s Misappropriation Caused Plaintiffs To Be Harmed and
10                Apple To Be Unjustly Enriched
11         One or more Masimo witnesses including, e.g., Joe Kiani and Bilal Muhsin and
12   contemporaneous documents will show that in
13
14                              Apple’s testimony and documents will show that Apple’s
15   misappropriation of Plaintiffs trade secrets caused Apple
16                                                                     One or more Masimo
17   witnesses including, e.g., Joe Kiani, Bilal Muhsin, Ammar Al-Ali, and Stephen Scruggs
18   will explain that Masimo
19                               One or more witnesses including, e.g., Joe Kiani will explain
20   Masimo’s lost profits from lost                       to Apple, caused by Apple’s trade
21   secret misappropriation.
22         One or more witnesses including, e.g., Vijay Madisetti and Robert Palmatier will
23   explain Apple’s use of Plaintiffs’ trade secrets in developing and promoting certain
24   health features related to the Apple Watch showing how Apple’s misappropriation was
25   a substantial factor in causing Plaintiffs’ harm and causing Apple to be unjustly
26   enriched. One or more witnesses including, e.g., Jeffrey Kinrich will explain Apple’s
27   unjust enrichment caused by Apple’s trade secret misappropriation, as measured by
28   Apple’s incremental profit related to the blood-oxygen and ECG features of the Apple
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 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 11 of 31 Page ID
                                   #:137324



1    Watch.
2
3    Claims 14-27: Plaintiffs’ Claims for Correction of Inventorship
4          One or more witnesses including, e.g., Vijay Madisetti will testify that Mohamed
5    Diab should be named as an inventor of U.S. Patent Nos. 10,078,052, 10,247,670,
6    9,952,095, and 11,009,390; that Jeroen Poeze, Ammar Al-Ali, Mohamed Diab, and
7    Walter Weber should be named as inventors of U.S. Patent No. 10,219,754; that Greg
8    Olsen, Mohamed Diab, and Phil Weber should be named as inventors of U.S. Patent
9    No. 9,723,997; and that Greg Olsen, Mohamed Diab, Joe Kiani, and Phil Weber should
10   be named as inventors of U.S. Patent No. 10,524,671.
11         One or more witnesses including, e.g., Mohamed Diab, Jeroen Poeze, Ammar Al-
12   Ali, Walter Weber, Greg Olsen, and/or Joe Kiani will testify regarding their knowledge
13   of, contribution to, and teaching to Lamego the subject matter claimed in the disputed
14   Apple patents.
15         Plaintiffs will present supporting evidence of products and documents, including,
16   for example, notebooks, technical documents, patents and patent filings, emails, source
17   code, employment agreements, and interrogatory responses.
18
19   Claims 20-27: Elements of Plaintiffs’ Claims for Declaratory Judgment of Patent
20   Ownership
21         Plaintiffs will rely on the evidence that supports its claims for correction of
22   inventorship. In addition, one or more witnesses including, e.g., Vijay Madisetti will
23   testify that Masimo and/or Cercacor own the disputed Apple patents because any
24   inventive contribution to the disputed Apple patents made by Marcelo Lamego,
25   Mohamed Diab, Jeroen Poeze, Ammar Al-Ali, Walter Weber, Greg Olsen, Joe Kiani,
26   and/or Phil Weber was made while employed by Masimo or Cercacor and they either
27   assigned their rights in the disputed Apple patents to Masimo or were under an obligation
28   to assign such rights to Masimo.
                                                -9-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 12 of 31 Page ID
                                   #:137325



1          One or more witnesses including, e.g., Mohamed Diab, Jeroen Poeze, Ammar Al-
2    Ali, Walter Weber, Greg Olsen, Joe Kiani, and/or Phil Weber will testify that they and
3    Marcelo Lamego made any inventive contribution to the subject matter claimed in the
4    disputed Apple patents while employed by Masimo or Cercacor and they either assigned
5    their rights in the disputed Apple patents to Masimo or were under an obligation to
6    assign such rights to Masimo.
7          Plaintiffs will present supporting evidence of products and documents, including,
8    for example, notebooks, technical documents, patents and patent filings, emails, source
9    code, employment agreements, and interrogatory responses.
10
11   Apple:
12         (a)    Apple plans to pursue the following affirmative defenses:
13         Laches;
14         Statute of limitations;
15         Waiver;
16         Plaintiffs failed to take reasonable steps to mitigate damages;
17         Unclean hands.7
18
19         (b)    The elements required to establish Apple’s affirmative defenses are the
20   following:
21
22
23   7
      Pursuant to the Court’s Daubert Order (Dkt. 1323 at 3-4), Apple understands it may
24   not present its “readily ascertainable” defense at trial. Apple reserves all appellate rights
     with respect to the Court’s Order.
25
26   For the avoidance of doubt, Apple is also pursuing its defenses of no willfulness;
     independent development of the alleged trade secrets; independent development of the
27   Disputed Patents; and no causation of damages. Apple asserts that Plaintiffs bear the
28   burden on each of these issues and they are accordingly not listed here.

                                                 -10-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 13 of 31 Page ID
                                   #:137326



1             Laches
2             Apple must prove by the preponderance of the evidence that:
3             (1) Plaintiffs unreasonably delayed in bringing the action; and
4             (2) the delay prejudiced Apple.
5             Statute of limitations
6             Apple must prove by a preponderance of the evidence, for each Asserted Trade
7    Secret, that, to the extent the jury finds misappropriation, misappropriation of the
8    Asserted Trade Secret occurred before January 9, 2017.
9             Plaintiffs can overcome the defense if they prove by a preponderance of the
10   evidence, for each Asserted Trade Secret, that they did not discover, nor with
11   reasonable diligence should they have discovered, facts that would have caused a
12   reasonable person to suspect that Apple had misappropriated the Asserted Trade
13   Secrets.
14            Waiver
15            Apple must prove by a preponderance of the evidence, for each asserted claim,
16   that Plaintiffs intentionally relinquished or abandoned a known right.
17            Plaintiffs failed to take reasonable steps to mitigate damages
18            Apple must prove by the preponderance of the evidence that Plaintiffs could
19   have avoided the alleged harm with reasonable efforts or expenditures.
20            Unclean hands
21            Apple must prove by the preponderance of the evidence that, for each asserted
22   claim:
23            (1) Plaintiffs engaged in misconduct; and
24            (2) Plaintiffs’ misconduct is related to the claim to which the defense is asserted.
25
26            (c)   In brief, the key evidence on which Apple relies for each affirmative
27   defense is the following:
28
                                                  -11-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 14 of 31 Page ID
                                   #:137327



1           Laches
2           Apple witnesses, including, e.g., Steve Hotelling and Deidre Caldbeck, along
3    with the presentation of documentary evidence, and cross examination of Plaintiffs’
4    witnesses will show that Plaintiffs have been aware of Apple’s conduct on which they
5    base allegations of trade secret liability since                       , and possibly
6    significantly earlier.
7           Apple witnesses, including, e.g., Steve Hotelling, Steven Warren, and Majid
8    Sarrafzadeh, along with the presentation of documentary evidence, and cross
9    examination of Plaintiffs’ witnesses will show that Plaintiffs have been aware of the
10   Disputed Patents at least as early as December 2018 and possibly significantly earlier.
11          Apple witnesses, including, e.g., Steve Hotelling and Deidre Caldbeck, along
12   with the presentation of documentary evidence, will show how Apple has been
13   prejudiced by Plaintiffs’ strategic decision to wait nearly seven years before filing this
14   suit in January 2020.
15          Statute of limitations
16          Apple witnesses, including, e.g., Steve Hotelling, Deidre Caldbeck, and Michael
17   O’Reilly, along with the presentation of documentary evidence, and cross examination
18   of Plaintiffs’ witnesses will show that Plaintiffs were aware or should have been aware
19   of the purported misappropriation
20
21          Information was readily ascertainable by proper means
22          Apple witnesses, including, e.g., Drs. Steven Warren, Majid Sarrafzadeh, Marco
23   Perez, Ran Kivetz, along with the presentation of documentary evidence, and cross
24   examination of Plaintiffs’ witnesses will show that Plaintiffs’ Asserted Trade Secrets
25   were readily ascertainable by proper means because the information in the Asserted
26
27
28
                                                 -12-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 15 of 31 Page ID
                                   #:137328



1    Trade Secrets can be obtained, discovered, developed, or compiled without significant
2    difficulty, effort, or expense.
3             Waiver
4             Apple witnesses, including, e.g., Steve Hotelling, Deidre Caldbeck, and Michael
5    O’Reilly, along with the presentation of documentary evidence, and cross examination
6    of Plaintiffs’ witnesses will show that Plaintiffs have been aware of Apple’s conduct
7    on which they base allegations of trade secret liability since
8
9             Apple witnesses, including, e.g., Steve Hotelling, Steven Warren, and Majid
10   Sarrafzadeh, along with the presentation of documentary evidence, and cross
11   examination of Plaintiffs’ witnesses will show that Plaintiffs have been aware of the
12   Disputed Patents at least as early as December 2018 and possibly significantly earlier.
13            Apple witnesses, including, e.g., Steve Hotelling and Deidre Caldbeck, along
14   with the presentation of documentary evidence, will show how Apple has been
15   prejudiced by Plaintiffs’ strategic and intentional decision to wait nearly seven years
16   before filing this suit in January 2020.
17            Plaintiffs failed to take reasonable steps to mitigate damages
18            Cross examination of Plaintiffs’ witnesses, along with the presentation of
19   documentary evidence, will show that Plaintiffs could have avoided the alleged harm
20   through reasonable efforts or expenditures.
21            Unclean hands
22            Cross examination of Plaintiffs’ and third-party witnesses, along with the
23   presentation of documentary evidence, will show that Plaintiffs engaged in misconduct
24   and that Plaintiffs’ misconduct was related to the asserted claims.
25
26            7.    In view of the admitted facts and the elements required to establish the
27   claims, counterclaims, and affirmative defenses, the following issues remain to be
28   tried:
                                                 -13-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 16 of 31 Page ID
                                   #:137329



1          Issues for the jury include:
2                 1)     Whether Apple misappropriated Masimo’s Asserted Trade Secrets
3                        as defined under California Uniform Trade Secret Act (Cal. Civ.
4                        Code § 3246.1), including for each Asserted Trade Secret:
5                       a. Whether Masimo developed or otherwise lawfully possessed the
6                          Asserted Trade Secret8;
7                       b. Whether the Asserted Trade Secret was a trade secret at the time
8                          of the alleged misappropriation;
9                       c. Whether Apple improperly acquired, used, or disclosed the
10                         Asserted Trade Secret;
11                      d. Whether Plaintiffs were harmed or Apple was unjustly enriched;
12                         and
13                      e. Whether Apple’s use, or disclosure was a substantial factor in
14                         causing Plaintiffs to be harmed (Plaintiffs’ position) or suffer lost
15                         profits (Apple’s position)9 or Apple to be unjustly enriched.
16                2)     Whether Apple did not improperly acquire, use, or disclose the
17                       Asserted Trade Secrets, but rather independently discovered the
18                       information that Plaintiffs allege Apple misappropriated;
19                3)     Whether Apple’s alleged misappropriation of Plaintiffs’ Asserted
20                       Trade Secrets was willful and malicious (Cal. Civ. Code § 3246.3);
21
22
     8
      As noted above, Apple reserves all rights with respect to its position the Plaintiffs must
     demonstrate ownership of the Asserted Trade Secrets.
23
     9
       As set forth above, Plaintiffs contends that the elements of trade secret
24
     misappropriation do not require damages or unjust enrichment. Plaintiffs contend that
25   monetary relief differs from harm. Plaintiffs contend that it can seek monetary relief
26   based on acquisition. Apple objects to Plaintiffs seeking damages based on acquisition
     only and contends no such damages theory has ever been disclosed. Apple further
27   objects to Plaintiffs seeking damages for actual harm in any form other than lost profits
28   and contends no such theory has been disclosed.

                                                -14-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 17 of 31 Page ID
                                   #:137330



1                   4)     Whether Plaintiffs’ claims are barred by the applicable statute of
2                          limitations;
3                   5)     Whether Plaintiffs’ employees contributed to the claimed inventions
4                          of U.S. Patent Nos. 9,723,997, 10,078,052, 10,247,670, 9,952,095,
5                          11,009,390, 10,219,754, and 10,524,671 (the “Disputed Patents)
6                          such that Plaintiffs’ employees should have been named as inventors;
7                   6)     Whether Plaintiffs should each be declared at least a joint owner of
8                          the Disputed Patents or U.S. Patent Application No. 16/700,710 by
9                          virtue of any determination that Plaintiffs’ employees should have
10                         been named as inventors or that Lamego invented the claimed
11                         inventions while employed by Cercacor;
12                  7)     Whether Plaintiffs are entitled to damages (Plaintiffs’ position) or
13                         lost profits (Apple’s position)10 and/or unjust enrichment from Apple
14                         and, if so, in what amount; and
15                  8)     Whether Plaintiffs failed to mitigate damages.
16
17            The Parties Disagree Who Decides the Following Issue:
18                  9)     Whether Plaintiffs’ claims are barred by the doctrine of unclean
19                         hands.
20            Issues for the Court include:
21                  10)    Whether Plaintiffs’ claims are barred by the doctrine of laches;
22                  11)    Whether Plaintiffs’ claims are barred by waiver;
23                  12)    If neither damages (Plaintiffs’ position) or lost profits (Apple’s
24                         position)11 nor unjust enrichment is provable, whether Plaintiffs are
25
26
     10
       As set forth in footnote five, the Parties dispute whether Plaintiffs may seek monetary
     relief for Apple’s acquisition of the Asserted Trade Secrets.
27
     11
          As set forth in footnote five, the Parties dispute whether Plaintiffs may seek monetary
28
                                                  -15-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 18 of 31 Page ID
                                   #:137331



1                       entitled to a reasonable royalty and, if so, in what amount;
2                 13)   Whether     to   award     punitive   or   exemplary    damages    for
3                       misappropriation of trade secrets and, if so, in what amount;
4                 14)   Whether to award attorneys’ fees for willful and malicious
5                       misappropriation of trade secrets and, if so, in what amount;
6                 15)   Whether to enjoin Apple from further misappropriation;
7                 16)   Whether to direct the U.S. Patent and Trademark Office to correct
8                       the inventorship of the ’052, ’670, ’095, ’754, ’671, ’997, and ’390
9                       patents;
10                17)   Whether to impose upon Apple, as a constructive trustee, certain
11                      responsibilities to maintain the ’052, ’670, ’095, ’754, ’671, ’997,
12                      and ’390 patents and to continue the prosecution of any pending
13                      applications derived from the patent applications that led to those
14                      patents;
15                18)   Whether to declare Masimo at least a joint owner of the ’052, ’670,
16                      ’095, ’754, ’671, ’997, and ’390 patents, and the ’710 application,
17                      and all applications, patents, continuations, divisionals, and reissues
18                      that claim priority to those patents and that patent application,
19                      including foreign counterparts; and
20                19)   Whether to award Plaintiffs pre- and/or post-judgment interest.
21
22         8.     Discovery is complete other than discovery related to a reasonable royalty
23   determination and discovery relating to stayed patent claims.
24
25         9.     Disclosures under Fed. R. Civ. P. 26(a)(3) have been made.
26
27
28   relief for Apple’s alleged acquisition of the Asserted Trade Secrets.

                                                 -16-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 19 of 31 Page ID
                                   #:137332



1                   The joint exhibit list of the parties has been filed under separate cover as
2    required by L.R. 16-6.1. Unless all parties agree that an exhibit shall be withdrawn, all
3    exhibits will be admitted without objection at trial, except those exhibits objected to as
4    follows:
5                   Plaintiffs’ objections to exhibits and the grounds for such objections are set
6    forth in Appendix 1 to this Order.
7                   Apple’s objections to exhibits and the grounds for such objections are set
8    forth in Appendix 2 to this Order.
9
10            10.   Witness lists of the parties have been filed with the Court under separate
11   cover.
12                  Only the witnesses identified in the lists will be permitted to testify (other
13   than for good cause shown12).
14                  Each party intending to present evidence by way of deposition testimony
15   has marked such depositions in accordance with L.R. 16-2.7.13 For this purpose, the
16   following depositions shall be lodged with the Clerk as required by L.R. 32-1:
17                   David Amor
18                   Louis Bokma
19                   Aditya Dua
20                   Jack Fu
21                   Chinsan Han
22
     12
       Plaintiffs assert they should also be able to call appropriate witnesses in its rebuttal
23   case in accordance with the Rules. Apple believes all witnesses should be disclosed
24   absent good cause shown.
25   13
       The parties have not exchanged deposition designations for witnesses that appear on
26   the other side’s lists of witnesses it has represented it will call live. The parties agree
     that if any witness is removed from a party’s will call live list, the other side may
27   subsequently provide deposition designations, subject to objections and counter-
28   designations.

                                                  -17-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 20 of 31 Page ID
                                   #:137333



1                 Jackie Harlow
2                 Michael Jaynes
3                 Alex Kanaris
4                 Eugene Kim
5                 Brian Land
6                 Paul Mannheimer
7                 Robert Mansfield
8                 Afshad Mistri
9                 Divya Nag
10                Trevor Ness
11                Nonin (Jill Wroblewski and Aaron Lobbestael)
12                Denby Sellers
13                Tao Shui
14                David Tom
15                Vivek Venugopal
16                Jeff Williams
17                Dong Zheng
18                Yassir Abdul-Hafiz
19                Ammar Al-Ali
20                Anand Sampath
21                Robert Smith
22                Philip Weber
23                Walter Weber
24                Micah Young
25               Plaintiffs object to the presentation of testimony by deposition of Marcelo
26   Lamego unless his subpoena is quashed or he fails to appear.
27               No deposition testimony not already designated, whether designated as
28   affirmative or counter-designations, may later be added, absent good cause shown.
                                              -18-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 21 of 31 Page ID
                                   #:137334



1    Pursuant to the procedures set forth below, the parties will identify the portions of
2    designations to be offered and provide transcripts of those portions to the Court closer
3    in time to when a party anticipates calling a witness by deposition so that the Court may
4    rule on any outstanding objections.
5           11.   The following law and motion matters and motions in limine, and no
6    others, are pending or contemplated:
7           Plaintiffs have filed the following:
8           (1)   Motion in Limine No. 1: Exclude Evidence of Plaintiffs’ Attorneys’
9                 Involvement In This Case
10          Apple has filed the following:
11          (1)   Motion In Limine No. 1: Preclude References To Other Litigations And
12                Proceeding
13          (2)   Motion In Limine No. 2: Preclude References To Irrelevant Apple
14                Operations
15          (3)   Motion In Limine No. 3: Exclude Irrelevant And/Or Inflammatory
16                Statements Attributed To Apple’s Employees
17          (4)   Motion In Limine No. 4: Exclude Unlawful Confidentiality Provisions Of
18                Employee Agreements
19
20          (2)   Bifurcation of the following issues for trial is ordered:      The trial to
21   determine whether Plaintiffs should be awarded a reasonable royalty, and the amount of
22   any such royalty, for Apple’s alleged misappropriation of Plaintiffs’ Asserted Trade
23   Secrets will be bifurcated and presented to the Court after a jury verdict, if necessary.
24   Additionally, trial on Plaintiffs’ patent infringement claims 1-12 has been bifurcated
25   pending the appeals of Final Written Decisions from inter partes review proceedings.
26
27          (3)   Stipulations For Trial: The parties agree on the following stipulations
28   for trial:
                                                   -19-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 22 of 31 Page ID
                                   #:137335



1               a. Sequestration: Pursuant to Federal Rule of Evidence 615(b), each side
2                  will designate a representative who is not subject to sequestration. For
3                  the avoidance of doubt, expert witnesses are not excluded from the
4                  courtroom for either fact or expert testimony.
5               b. Scope of Examinations at Trial – The parties agree that, for any
6                  witnesses on both parties’ witness lists who are presenting live
7                  testimony, the scope of cross-examination shall not be limited to the
8                  scope of direct examination. Accordingly, when Plaintiffs call their live
9                  witnesses during their case-in-chief, Apple may exceed the scope of the
10                 direct examination for witnesses on Apple’s witness list and Apple will
11                 complete its examination so that the witness will not have to return to
12                 testify a second time in Apple’s case-in-chief. Similarly, when Apple
13                 call its live witnesses in its case-in-chief, Plaintiffs may exceed the
14                 scope of the direct examination for witnesses on their own witness list
15                 so that Plaintiffs need not have previously called the witness in their
16                 case-in-chief. Thus, Plaintiffs’ case-in-chief shall remain open through
17                 presentation of all of Apple’s live witnesses on Plaintiffs’ witness list.
18                 Each Party is currently relying on the other Party’s identification of
19                 “will call live” witnesses, and the understanding that such witness will
20                 be presented live at trial, and therefore the parties need not issue trial
21                 subpoenas for such witnesses. If a Party does not call a currently
22                 designated “will call live” witness of that Party, the other side will have
23                 the right to call that witness as an adverse witness and such witness will
24                 be made available at trial unless the Parties agree to proceed by
25                 deposition or otherwise.
26              c. Witness Availability – The parties understand the start date of trial may
27                 be delayed and that there may be scheduling conflicts that require taking
28                 witnesses out of order. The parties agree to work in good faith to
                                              -20-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 23 of 31 Page ID
                                   #:137336



1                  navigate witness scheduling issues—including, if necessary, by calling
2                  witnesses out of order.
3               d. Disclosure of Witnesses Testifying at Trial – The parties have agreed
4                  to the deadlines for disclosure of trial witnesses as follows: During its
5                  case-in-chief, each side will identify any witnesses it expects to call by
6                  deposition by 6:00 pm three calendar days before the trial day during
7                  which the designations will be read or played (for example, by 6:00 pm
8                  on Saturday for a witness whose deposition will be played on Tuesday)
9                  and any witnesses it expects to call live and the order in which it expects
10                 to call them by 6:00 pm two calendar days before the trial day during
11                 which the witnesses are called (for example, by 6:00 pm on Sunday for
12                 a witness who will be called on Tuesday).
13              e. Disclosure of Deposition Designations – The parties have agreed to the
14                 deadlines for disclosure of deposition designations as follows:
15                    i. If a party identifies a witness that it intends to call at trial by
16                       deposition, then the party shall identify the specific pages and
17                       lines of the witness’s deposition testimony that the party expects
18                       to play by 7:00 pm three calendar days before the trial day during
19                       which the deposition is expected to be read or played.
20                    ii. For each such witness, the opposing side shall identify objections
21                       and counter-designations by 6:00 pm the following day (i.e., two
22                       calendar days before the trial day during which the testimony is
23                       expected to be played).
24                   iii. The proffering side shall identify any objections to the counter
25                       designations and counter-counter designations by 8:00 pm.
26                   iv. The parties will meet and confer by 9:00 pm that night (i.e., two
27                       calendar days before the trial day during which the testimony is
28
                                             -21-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 24 of 31 Page ID
                                   #:137337



1                           expected to be played) in an effort to resolve their objections and
2                           any other issues relating to the deposition designations.
3                        v. The party offering the testimony is responsible for preparing a
4                           transcript clip report, including all unresolved objections, for
5                           submission to the Court the calendar day before the testimony is
6                           expected to be played.
7                       vi. The party offering the testimony is responsible for preparing
8                           video deposition clips and final transcript clip reports of all
9                           designated testimony for that witness. A copy of the video
10                          deposition clips and clip reports shall be provided to the opposing
11                          party no later than 9:30 pm the calendar day before the deposition
12                          testimony is expected to be played.
13                     vii. Each party agrees that correct copies of transcripts and video
14                          recordings of depositions taken in this litigation may be used by
15                          either party at trial, without respect to whether the copy is
16                          certified. No party shall object to the authenticity of a copy of a
17                          deposition transcript or video recording of a deposition absent
18                          evidence that the copy is, in fact, inaccurate or inauthentic. The
19                          party challenging the authenticity of a deposition transcript or
20                          video recording shall bear the burden of establishing that the
21                          transcript or video recording is not authentic. All other objections
22                          to admissibility of deposition testimony are preserved.
23                    viii. Designations and counter-designations will be presented via
24                          video and played in page order.14 All objections and colloquies
25
26
     14
       The Parties disagree whether this rule should apply to Marcelo Lamego if he were
     unavailable to testify live. Plaintiffs believe it should not. Apple believes it should. Dr.
27   Lamego testified at deposition pursuant to subpoenas served by both sides, but was first
28   questioned by Apple.

                                                -22-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 25 of 31 Page ID
                                   #:137338



1                        between counsel will be eliminated when the designated
2                        testimony is played.
3                    ix. When deposition testimony is played by video, the time available
4                        for each party’s presentation of evidence shall be reduced by the
5                        length of its designations and counter-designations as played.
6                     x. The parties have agreed that certain witnesses can be called by
7                        deposition, regardless of the availability of the witness to testify
8                        live.
9                           1. Plaintiffs have agreed that Apple may call the following
10                               witnesses via deposition, regardless of whether the witness
11                               is within the Court’s subpoena power:
12                                  a. Yassir Abdul-Hafiz
13                                  b. Ammar Al-Ali
14                                  c. Alex Kanaris
15                                  d. Greg Olsen
16                                  e. Anand Sampath
17                                  f. Robert Smith
18                                  g. Philip Weber
19                                  h. Walter Weber
20                                  i. Micah Young
21                          2. Apple has agreed that Plaintiffs may call the following
22                               witnesses via deposition, regardless of whether the witness
23                               is within the Court’s subpoena power:
24                                  a. David Amor
25                                  b. Louis Bokma
26                                  c. Aditya Dua
27                                  d. Jack Fu
28                                  e. Chinsan Han
                                             -23-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 26 of 31 Page ID
                                   #:137339



1                                  f. Jackie Harlow
2                                  g. Michael Jaynes
3                                  h. Alex Kanaris
4                                  i. Eugene Kim
5                                  j. Brian Land
6                                  k. Paul Mannheimer
7                                  l. Robert Mansfield
8                                  m. Afshad Mistri
9                                  n. Divya Nag
10                                 o. Trevor Ness
11                                 p. Nonin (Jill Wroblewski and Aaron Lobbestael)
12                                 q. Denby Sellers
13                                 r. Tao Shui
14                                 s. David Tom
15                                 t. Vivek Venugopal
16                                 u. Jeff Williams
17                                 v. Dong Zheng
18              f. Disclosure of Exhibits – The parties have agreed to the deadlines for
19                 disclosure of exhibits and objections thereto as follows:
20                    i. Each side will identify exhibits that will be shown to the trier of
21                       fact during opening statements by noon one calendar day before
22                       the date on which opening statements are presented to the jury.
23                       The opposing side shall identify any objections to exhibits to be
24                       shown during opening statements by 6:00 pm that night. The
25                       parties will meet and confer by 9:00 pm in an effort to resolve any
26                       such objections. Any unresolved objections will be raised with
27                       the Court outside the presence of the jury before commencement
28                       of opening statements.
                                             -24-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 27 of 31 Page ID
                                   #:137340



1                       ii. Each side will identify exhibits that will be offered into evidence
2                           during the testimony of a witness called by that side, whether live
3                           or via deposition, by 6:00 pm one calendar day before the trial
4                           day the witness is called (for example, by 6:00 pm on Monday for
5                           a witness who will be called on Tuesday).
6                      iii. The opposing side shall identify objections by 8:00 pm the same
7                           day.15
8                       iv. The parties will meet and confer by 9:00 pm the same day in an
9                           effort to resolve their objections and any other issues relating to
10                          the disclosed exhibits.
11                      v. For any unresolved objections to an exhibit, the parties will
12                          address those objections with the Court outside the presence of
13                          the jury before seeking to introduce the exhibit at trial.
14                      vi. The parties agree that documents that will be used for
15                          impeachment do not need to be identified as part of these
16                          disclosures.
17                     vii. An exhibit, once admitted, may be used equally by each party.
18
19
     15
        The Parties disagree regarding whether a Party need disclose exhibits they will seek
20
     to introduce into evidence through an adverse witness. Because Apple has agreed
21   Masimo may examine witnesses outside the scope of direct in order to avoid calling
     them adversely, it believes the appropriate course is for all parties to disclose any
22
     exhibits they intend to introduce into evidence during examination of any witness
23   pursuant to the above procedures. For example, if in lieu of calling an Apple employee
     adversely during their case-in-chief, Plaintiffs defer their examination until that witness
24
     testifies during Apple’s case-in-chief but seek to exceed the scope of the direct
25   examination to present affirmative evidence through that witness, Apple believes
26   Plaintiffs should identify the exhibits it will seek to admit through that witness pursuant
     to the procedures set forth herein so that objections can be resolved before the witness
27   testifies. Plaintiffs disagree and contend that an adverse witness need not be given
28   exhibits the night before testifying.

                                                -25-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 28 of 31 Page ID
                                   #:137341



1                   viii. The listing of an exhibit by a party on its exhibit list does not
2                        waive any evidentiary or other objections to that exhibit by the
3                        listing party should the opposing party attempt to offer it into
4                        evidence.
5                    ix. The parties agree that any description of a document on an exhibit
6                        list is provided for convenience only and shall not be used as an
7                        admission or otherwise as evidence regarding that document.
8                     x. The parties agree that any date listed on the exhibit list is neither
9                        evidence of nor an admission of the date of the document, and
10                       that failing to list a date is neither evidence of nor an admission
11                       of whether the document is dated.
12                   xi. Each party reserves the right to use documents not set forth in its
13                       exhibit list for purposes of impeachment.
14              g. Disclosure of Trial Demonstratives – In lieu of the deadline set forth
15                 in L.R. 16-3, the parties have agreed to the deadline for disclosure of
16                 trial demonstratives as follows:
17                    i. Each side will disclose graphical, illustrative, or demonstrative
18                       material that will be shown to the trier of fact during opening
19                       statements by noon one calendar day before the date on which
20                       opening statements are presented to the jury. The opposing side
21                       shall identify any objections by 6:00 pm that night. The parties
22                       will meet and confer by 9:00 pm in an effort to resolve any such
23                       objections. Any unresolved objections will be raised with the
24                       Court outside the presence of the jury before commencement of
25                       opening statements.
26                    ii. Each side will disclose graphical, illustrative, or demonstrative
27                       material that will be shown to the trier of fact during the testimony
28                       of a witness called by that side by 6:00 pm one calendar day
                                             -26-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 29 of 31 Page ID
                                   #:137342



1                        before the witness is called (for example, by 6:00 pm on Monday
2                        for a witness who will be called on Tuesday).
3                    iii. The opposing side shall identify any objections by 8:00 pm the
4                        same day.
5                    iv. The parties will meet and confer by 9:00 pm the same day in an
6                        effort to resolve their objections.
7                     v. For any unresolved objections to demonstratives, the parties will
8                        address those objections with the Court outside the presence of
9                        the jury before seeking to show the demonstrative at trial.
10                   vi. Graphical, illustrative, or demonstrative material that consists
11                       solely of an excerpt from an exhibit including highlighting and/or
12                       call-outs (without more) need not be disclosed in advance of
13                       being shown to the trier of fact provided the exhibit has been
14                       disclosed pursuant to the above process.
15                   vii. The party seeking to use graphical, illustrative, or demonstrative
16                       material will provide a color representation of that material to the
17                       other side in PDF form. For video or animations, the party
18                       seeking to use the material will provide it to the other side via a
19                       USB drive or other agreed-upon means.
20                  viii. Exhibits or graphical, illustrative, or demonstrative material that
21                       will be shown to the trier of fact during the examination of an
22                       adverse witness need not be disclosed in advance of such
23                       examination.
24              h. Authenticity of Exhibits – The parties stipulate to the authenticity of
25                 each trial exhibit that is a document or thing produced by a party and on
26                 its face appears to be generated by the party, including by current or
27                 former employees, officers, or agents of the producing party, subject to
28                 the right of the party against which such document or thing is offered to
                                             -27-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 30 of 31 Page ID
                                   #:137343



1                  adduce evidence to the contrary. Notwithstanding this stipulation, each
2                  party preserves its right to object to the document or thing on any ground
3                  other than authenticity.
4               i. Copies of Documents – Complete legible copies of documents may be
5                  offered and received in evidence to the same extent as an original unless
6                  a genuine question is raised as to the authenticity of the original, or in
7                  the circumstances it would be unfair to admit the copy in lieu of the
8                  original. Legible copies of the patents at issue and the contents of their
9                  U.S. Patent and Trademark Office file histories may be offered and
10                 received in evidence in lieu of certified copies thereof, subject to all
11                 other objections that might be made to the admissibility of certified
12                 copies.
13              j. Rebuttal Case – The parties currently have a dispute as to the proper
14                 scope as to any rebuttal case.
15
16                 Masimo’s position:     Plaintiffs intend to present a rebuttal case, if
17                 necessary, on all issues. Whether Plaintiffs present a rebuttal case does
18                 not depend solely on which Party has the burden of proof on any issue.
19                 Further, that the Parties saw the benefit of having witnesses appear once
20                 to testify should have no effect on whether Plaintiffs are entitled to
21                 present rebuttal witnesses. The Parties were unable to finally agree on
22                 any “one-and-done rule” particularly because Plaintiffs believe Apple
23                 maintained that implementing such rule would preclude Plaintiffs from
24                 presenting any rebuttal case.
25
26                 Apple’s position: Plaintiffs should not be permitted to present a rebuttal
27                 case except as to issues for which Apple has the burden. Apple further
28                 objects to Plaintiffs re-calling any fact witnesses in rebuttal including
                                              -28-
 Case 8:20-cv-00048-JVS-JDE Document 1397-1 Filed 02/28/23 Page 31 of 31 Page ID
                                   #:137344



1                    because (1) Plaintiffs have not identified any issue for which Apple has
2                    the burden that fact witness testimony would be appropriate to rebut and
3                    (2) the Parties’ prior agreement that fact witnesses would be “one and
4                    done”—i.e., only testify once—precludes Plaintiffs from re-calling any
5                    fact witnesses.
6
7          (4)    The foregoing admissions having been made by the parties, and the parties
8    having specified the foregoing issues remaining to be litigated, this Final Pretrial
9    Conference Order shall supersede the pleadings and govern the course of the trial of this
10   cause, unless modified to prevent manifest injustice.
11
12   DATED: _________________                     __________________________
13                                                The Honorable James V. Selna
                                                  United States District Judge
14
15   Dated: February 28, 2023                 By: /s/ Mark D. Selwyn
                                                   ***
16
                                                      Attorneys for Defendant
17                                                    APPLE INC.
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